

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0207-13






STEPHEN DAVID SILVEY,  Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


COLLIN COUNTY





	Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.4(i)(2)(D)
because the petition exceeds the proper page limits. 

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed:	July 24, 2013

Do Not Publish


